
ATTORNEY DISCIPLINARY PROCEEDING
PER CURIAM
The Office of Disciplinary Counsel (“ODC”) commenced an investigation into allegations that respondent disrupted a court proceeding by using vulgarities in the courtroom. Prior to the filing of formal charges, respondent and the ODC submitted a joint petition for consent discipline wherein they stipulated that respondent violated Rule 8.4(d) of the Rules of Professional Conduct. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Jeffry L. Sanford, Louisiana Bar Roll number 21069, be suspended from the practice of law for a period of thirty days. This suspension shall be deferred in its entirety, subject to respondent’s successful completion of a one-year period of supervised probation governed by the conditions set forth in the Petition for Consent Discipline. The probationary period shall commence from the date respondent and the ODC execute a formal probation plan. Any failure of respondent to comply with the conditions of probation, or any misconduct during the probationary period, may be grounds for making the deferred suspension executory, or imposing additional discipline, as appropriate.
*842IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court’s judgment until paid.
